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*A0   2458    (Rev. 06105) Judgment in a Criminal Case             #1673
              Sheet 1




                       SOUTHERN                                  District o f                                   ILLINOIS

         UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                              v.
                   JEREMY T. BONE                                        Case Number:          4:06CR40019-019

                                                                         USM Number: 07300-025

                                                                          Brian C. Wernsman
                                                                         Defendant's Attorney
THE DEFENDANT:
gpleaded guilty to count(s)           1 of the Superseding Indictment
                                                                                                                  JUN 1 3 200
  pleaded nolo contendere to count(s)                                                                                              7
  which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Yature of Offense                                                         Offense Ended             ('ount
 21 U.S.C. 845'                     ~omsp&tp ,, ~scurt&&re,                                                   4/5/2006                    Is
                                    Intent to Distribute a Mixture & Substance Containing Meth



       The defendant is sentenced as provided in pages 2 through              10         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                is        are dismissed on the motion of the United States.

             It is ordcrcd that the delkndant must notify the Unlted States attorney for this district w1t111n30 dars,of3ny change oofnanie. res~denie.
or r n ~ l l ~ address
                n       until a11 fines, rcsntution,costs, and spec~alass:ssmen~simposed by thls judgment are fu I! pa~d.Ifordered to pa) resutullon.
the defcnjant must notify the court and llnlted Stares attorney 01 material changes in cconomlc clrcumsl;llicrs.

                                                                           6/7/2007
                                                                          Date of Imposition of Judgment




                                                                           J. Phil Gilbert                               District Judge
                                                                                                                      Title of Judge
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DEFENDANT: JEREMY T. BONE
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                                                                IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

  195 months on Count 1 of the Superseding Indictment. The court sentences the defendant to 240 months, but is given 45
  months credit on state related cases for a sentence of 195 months. This sentence is to run concurrent with Jefferson
  County, IL case number 02CF309 and Fayette County, IL case number 03CF178.

      @ The corn makes the following recommendations to the Bureau of Prisons:
  That the defendant be placed in the Intensive Drug Treatment Program



      @ The defendant is remanded to the custody of the United States Marshal
      I7 The defendant shall surrender to the United States Marshal for this district:
                at                                       a.m.         p.m.     on
                as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                           to

 at                                                     , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL


                                                                             BY
                                                                                                    DEPUTY UNITED STATES MARSHAL
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              Sheet 3 S u p e r v i s e d Release
                                                                                                            Judgment-Page       3     of        10
DEFENDANT: JEREMY T. BONE
CASE NUMBER: 4:06CR40019-019
                                                            SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :

  10 years on Count 1 of the Superseding Indictment.



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfull possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall su%mit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a fire-          ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supelvised release that the defendant pay in accordance with the
 Schedule o f l ~ a ~ m e nsheet
                            t s of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
           the defendant shall r e p e to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall refrain fiom excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
           the defendant shall not associate with any ersons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do ~ 0 the
                                                         % protation
                                                             ~        officer;
  10)      the defendant shall p e g i t a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation ofiicer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the robation officer, the defendant shall notify .third parties of risks that may be occasioned by +e defendant's criminal
           record or           history or charactensbcs and shall pemnt the probabon officer to make such notlficat~onsand to confirm the
           defendant s compliance with such notification requirement.
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           Sheet 3C - Supervised Release                        #1676
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                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of Supe~isedrelease. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.

  X Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis.
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                         Sheet 5 C r i m i n a l Monetary Penalties                  #1677

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                                                             CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6

                                    Assessment                                                             -
                                                                                                           Fine                                          Restitution
 TOTALS                          $ 100.00                                                        $ 200.00                                            $ 0.00



 17The determination of restitution is deferred until                         -.                 An Amended Judgment in a Criminal Case (A0 245'2) will be entered
      after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount Listed below

      If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise in
      the priority order or percentage payment columnielow. However, pursuant to 18 Qs.8. 5 366481, all nonfederal vlctlms must be paid
      before the United States 1s pa~d.

 Name of Pavee
           ,         ,                                                                  ,             ..
                                                                                                           Total*
                                                                                                            ,,.
                                                                                                                                          Restitution Ordered        Priorih' or I'errentage
   . .',. <, ,"'..: . ,                                                                 .:'*.                                         :      ,'
           :. .. ,
               6 .        '                                 . .       ..
                                                                                   '
                                                                                   __j.. / '
                                                                                                  I
                                                                                                       .', ..                  . ,,




TOTALS                                             $                               0.00                         $                                 0.00


       Restitution amount ordered pursuant to plea agreement $

       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. 9 3612(g).

 @f The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       @f the interest requirement is waived for the                              @ fine                        restitution.
       I7 the interest requirement for the                                 fine                 restitution is modified as follows:


* Findings for the total amount of losses are re uired under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before Apnl23, 1998.
A 0 2458
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           Sheet 6 Schedule of Payments                          #1678
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                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     @ Lump sum payment of $                                due immediately, balance due

                 not later than                                  Or
                 in accordance                C,       D,         E, or         F below; or

B          Payment to begin immediately (may be combined with              C,          D, or        F below); or

C          Payment inequal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after fhe date of this judgment; or

 D         Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    @ Special instructions regarding the payment of criminal monetary penalties:
            While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of his net monthly income, whichever is greater.




 Unless the coun has cxprcssl ordered othewlse, ifthisjud mcnr Imposes i n ~ p r i s o n m c n tofsrlnunal
                                                                                                 , ~ ~ ~ nionctar).penaltics 1s due durm
 ~mpr~sonme~it.  All crlminarrnoneta penalties, except Those payments made throug t e Federal l3urem o i Pnsons' Inmate ~ l n a n c i j
 Respons~bilityI'rogran$ are madc to Ze clerk of the coun.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
 (5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
